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 9

10                               IN THE UNITED STATES DISTRICT COURT

11                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

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13   TRIBUO PARTNERS LLC,                                         Case No.: 3:22-cv-02930-TLT

14                            Plaintiff,                          DEFENDANTS WILSON SONSINI
                                                                  GOODRICH & ROSATI., P.C. AND
15             vs.                                                LYONS’ CERTIFICATION OF
                                                                  INTERESTED ENTITIES OR
16   WILSON SONSINI GOODRICH & ROSATI, P.C.                       PERSONS
     and JOSEPH MATTHEW LYONS,
17                                                                Crtrm:      9, 19th Floor
                              Defendants.                         Judge:      Hon. Trina L. Thompson
18                                                                Complaint Filed: May 17, 2022

19

20             Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, other than the
21   named parties, there is no such interest to report.
22   Dated: October 5, 2022                                 DUANE MORRIS LLP
23
                                                      By:       /s/ Allison Lane
24                                                          Allison Lane
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25                                                          Bridget S. Cho
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     DEFENDANT WILSON SONSINI GOODRICH & ROSATI, P.C. AND JOSEPH  CASE NO.: 3:22-CV-02930-TLT
     MATTHEW LYONS’S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
